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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
SHANE JEANSONNE #20357-035, CIVIL DOCKET NO. 1:21-CV-02097
Plaintiff SEC P
VERSUS JUDGE DRELL
USA ET AL, MAGISTRATE JUDGE PEREZ-MONTES
Defendants
JUDGMENT

For the reasons stated in the REPORT AND RECOMMENDATION of the Magistrate
Judge previously filed herein [ECF No. 9], and after a de novo review of the record
including the Objection filed by Petitioner [ECF No. 10], and having determined that
the findings and recommendation are correct under the applicable law;

IT IS HEREBY ORDERED that the Petition for Writ of Habeas Corpus under
28 U.S.C. § 2241 [ECF No. 1] is DENIED and DISMISSED WITH PREJUDICE.

THUS, DONE AND SIGNED in Chambers, this : day of October 2021.

 

DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
